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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

EDITH BLANK                                                )
                                                           )
       et al.                                              )
                                                           )
                                                           )
       Plaintiffs,                                         )
                                                           )
       v.                                                  ) Case No. 19-cv-03645(BAH)
                                                           )
THE ISLAMIC REPUBLIC OF IRAN                               )
                                                           )
                                                           )
       Defendant.                                          )


MOTION OF COUNSEL TO WITHDRAW FROM REPRESENTATION OF PLAINTIFF JIM
                            GAYDOS

       Undersigned counsel hereby moves to withdraw from representation of Plaintiff Jim

Gaydos. Counsel has been unable to contact or communicate with Mr. Gaydos since September

27, 2020, when he last received an email communication from him.

       Counsel has tried contacting Mr. Gaydos repeatedly during that time, using mail, email,

text message, and last known cell telephone number, without any response. Counsel tried the

three last methodologies again several times in response to the Court’s recent show cause Order,

again without any success.

       Accordingly, undersigned counsel cannot effectively represent Mr. Gaydos and moves to

withdraw from the representation.

       As required by Local Rule 83.6(d), a copy of this Motion and a Notice to Obtain Other

Counsel is being served on Mr. Gaydos at his last known mailing address as well as his last

known email address.




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                                  Respectfully submitted,


                                  /s/__Paul G. Gaston
                                  Paul G. Gaston
                                  DC Bar #29083

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